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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 IN RE: CHICAGO BOARD OPTIONS                          Case No. 1:18-cv-04171
 EXCHANGE VOLATILITY INDEX
 MANIPULATION ANTITRUST                                MDL No. 2842
 LITIGATION
                                                       Honorable Manish S. Shah
 This Document Relates to All Actions



                               PLAINTIFFS’ STATUS REPORT

       Pursuant to this Court’s orders requesting a status report and proposed next steps (Dkts.

362, 368), Co-Lead Counsel have conferred, including with each other, the Steering Committee,

and the named Plaintiffs.

       Considering, among other things, (i) the Court’s decision that there was not “good cause”

for identifying discovery because “there is too much for plaintiffs to learn before they can craft a

complaint that names names” (Dkt. 311 at 3), (ii) this Court’s and the Seventh Circuit’s rulings

on many aspects of the complaint more generally, and (iii) the available information about which

we are aware from non-CBOE sources, we do not at this time see “another way to advance

[Plaintiffs’] case against the Does.” Id.

       At this time, no Doe has actually been identified nor has any Doe filed any responsive

papers. Accordingly, in terms of a “proposal for next steps” (Dkt. 362), Plaintiffs are filing a

notice of voluntarily dismissal, without prejudice, with respect to the Doe Defendants. Date:

September 12, 2022

                                              Respectfully submitted:

                                                     /s/ Kimberly A. Justice
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